                                                                                                        FILED
                                                                                             U. S: 01S iHlCT COURT
                                        IN THE UNITED STATES DISTRJCT COURT                DIST RIC T '.'F i '!:~[3HASKA
                                            FOR THE DISTRJCT OF NEBRASKA
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         UNITED STATES OF AMERJCA,                                                         OFFICE OF T E ~LERt
                                                                                 SE A LED
                                      Plaintiff,
                                                                                  4:21CR513tf
                 vs.
                                                                             INDICTMENT
         GEORGE LESLEY WEAVER, JR. and                                       21 U.S .C. § 846
         ANNAIDIGIMA,                                                  21 U.S.C . § 841(a)(l), (b)(l)

                                      Defendants. ·


         The Grand Jury Charges:
                                                       COUNT!

                       Beginning on or about June 1, 2021 , and continuing to on or about September 23 ,

         2021, in the District ofNebraska, the defendants, GEORGE LESLEY WEAVER, JR. and

         ANNA IDIGIMA, knowingly and intentionally, combined, conspired, confederated and agreed

         · together and with other persons known and unknown to the Grand Jury, to commit the following

         offenses against the United States: to distribute and possess with intent to distribute 5 kilograms

         or more of a mixture or substance containing a detectable amount of cocaine, its salts, optical and

         geometric isomers and salts of isomers, a Schedule II controlled substance; a detectable amount

F - ·-   of a mixture or substance containing a detectable amount of fentanyl, a Schedule II controlled

         substance; and .a detectable amount of marijuana, a Schedule I controlled substance, in violation

         of Title 21, United States Code, Section 841(a)(l) and 84l(b)(l).

                   In violation of Title 21 , United States Code, Section 846.
                                  j



                                                                   A TRUE BILL:
          The United States of America requests that trial of this case be held at Lincoln,
Nebraska, pursuant to the rules of this Court.




                                                  ft    Assistant United States Attorney
